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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT COURT OF NEW MEXICO

UNITED STATES OF AMERICA,
                Plaintiff,

vs.                                                                  No. 18-CR-2945

JANY LEVEILE, et al..,
                  Defendants.


  ORDER GRANTING DEFENDANTS’ MOTION TO ALLOW EXRTERNAL HARD
              DRIVES WHILE IN PRE-TRIAL DETENTION

       THIS MATTER having come before the Court on April 3, 2019, with the parties

informing the Court regarding the need for additional space on computers provided to the

Defendants (See Doc. 71) and there being no objection by the government, the Court hereby

ORDERS that the United States Marshals Service and the detention facilities in which

defendants Jany Leveile, Siraj Wahhaj, Hujrah Wahhaj, Subhanah Wahhaj and Lucas Morton are

detained by order of the United States District Court of the District of New Mexico permit said

defendants to possess and use an external hard drive in conjunction with the computer/tablets

already provided to the listed Defendants.


       IT IS FURTHER ORDERED that the external hard drives will be provided to each

defendant by their respective counsel, and may be inspected, in the presence of defense counsel,

by the detention facility and United States Marshals Service prior to delivery to each defendant,

and periodically thereafter, only in the presence of defense counsel, to ensure that no

impermissible content is loaded and no impermissible modifications have been made.


       The hard drives will be password protected and will be locked when not in use by the

defendants. The defendants are permitted to use their hard drives only to review the discovery to



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which they are permitted access under and pursuant to any protective or confidentiality orders

entered in this case, and for no other purposes. Defendants are not to share any information on

their hard drive with any other defendants, inmates, correctional officers, or other parties. The

password for each hard drive shall be set by the defendant and his/her counsel and shall not be

disclosed to counsel for the government, United States Marshals or corrections officers.


       The hard drives will be updated at regular intervals to upload all discovery materials and

to keep the defendants current as to the discovery that is provided.


       IT IS FURTHER ORDERED that defendants cannot be forced to unlock and display the

contents of their hard drives to anyone other than defense counsel or persons associated with the

defense. Any review by the United States Marshals Service or detention facility personnel must

be done in the presence of defense counsel and shall be limited to a review for impermissible

modifications as ordered above.


       Once provided to each defendant, the hard drives and all data, in any form contained on

the computer, including any markings thereon, will be protected by the attorney/client privilege.




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       At the conclusion of the case, an electronic copy of the entire contents of each

computer/tablet will be made and thereafter, all materials on the hard drive shall be deleted.


The provisions of this order shall remain in effect until further order this Court.




IT IS SO ORDERED.




                                       THE HONORABLE WILLIAM P. JOHNSON
                                       United States District Judge


Submitted by:

/s/_Carey C. Bhalla

CAREY C. BHALLA

Counsel for Hujrah Wahhaj




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